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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                             :
 UNITED STATES OF AMERICA                    :      Case No: 21-cr-651 (DLF)
                                             :
                                             :
                 v.                          :      40 U.S.C. § 5104(e)(2)(G)
                                             :
 EDWARD T. SPAIN, JR.                        :
                                             :
         Defendant.                          :

                                  STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Edward T. Spain, Jr., with the concurrence of his attorney, agree and stipulate to the below

factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the

parties stipulate that the United States could prove the below facts beyond a reasonable doubt:

                          The Attack at the U.S. Capitol on January 6, 2021

       1.         The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.         On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.         On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

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Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the




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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


             Edward T. Spain, Jr.’s Participation in the January 6, 2021, Capitol Riot

                                 Spain’s Admissions and Videos

       8.       On or about January 5, 2021, the defendant traveled with friends from Oklahoma

to Washington, D.C. to attend the “Stop the Steal” rally that was scheduled to take place at the

Ellipse, the 52-acre park located south of the White House, on January 6, 2021.

       9.       On January 6, 2021, the defendant traveled to the U.S. Capitol and entered the

Capitol through the Columbus doors adjacent to the Rotunda at approximately 2:50 p.m.

       10.      The defendant walked into the Rotunda area and exited the Capitol at

approximately 3:10 p.m.




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                                  Spain’s Social Media Posts

       11.    On January 3, and 4, 2021, Spain posted the following message to his Parler

account:

       PUBLIC SERVICE ANNOUNCEMENT: The CIVIL WAR IN THE UNITED
       STATES IS EMMINENT!! THIS IS AN EMERGENCY ANNOUNCEMENT!!
       ARM YOURSELVES WITH WEAPONS AND FIGHT FOR YOUR
       COUNTRY!! LOCAL LAW ENFORCEMENT AGENCIES WITH
       COLLAPRSE EMERGENCY FIRST RESPONDERS WILL BE
       OVERWHELMEDSTAY TUNED TO YOUR LOCAL EMERGENCY
       BROADCAST NETWORK FOR FURTHER INFORMATION.

       12.    On January 6, 2021, Spain posted: “I was there!! I will remember this day forever.

What we did as Americans will live in Eternity!!”

       13.    The following day, on January 7, 2021, Spain posted:

       I am speechless! Of the Events of yesterday. Angered by the sudden reversal on
       objections. Not following the Constitution??? We Americans are no longer living
       in a free democracy, we are banana republic. Its GO TIME! LOCK AND LOAD!!
       DO NOT LET GO OF YOUR GUNS!!

       14.    The defendant knew at the time he entered the U.S. Capitol Building that he did

not have permission to enter the building, and the defendant paraded, demonstrated,


or picketed for approximately 20 minutes.
                                                     Respectfully submitted,

                                                     MATTHEW GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                             By:     /s/ Anita Eve
                                                     Anita Eve
                                                     Assistant United States Attorney
                                                     PA Bar No. 45519




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                             DEFENDANT s ACKNOWLEDGMENT
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                                     � have read this Statement of the Offense and have dis   · cussed
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     1 ":'Y attorney. 1 fully und e
                                      rstand this Statement of the Offense. l agree and acknowledge
by my signature that this State
                                   me nt of the Offense is true and accurate. l do this voluntarily and
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            .                          have been m ade to me nor am l under the influence of anyth.mg
t hat could impe de my ability to underst and this Statement of the Offense fully.


      ________________                     [cu,w,.d?d -�
                                          Edward T. Spain, Jr.
                                          De fendant


                                ATTORNEY'S ACKNOWLEDGMENT
        I have read this Statement of the Offense and have reviewed it with my client fu\\y.
 concur in m y client's desire to adopt this Stat ement of the Offe se as true and accurate .




  Date:
                                            Kira Anne West
                                            Attorney for Defendant




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